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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

Donna Kolodzieski,                            )
                                              )
                   Plaintiff,                 )
                                              )
         v.                                   )       C.A. No. 17-1702-MWB
                                              )
Capital One Bank (USA), National              )
Association, Experian Information             )
Solutions, Inc., Trans Union LLC and          )
Equifax Information Services LLC,             )
                                              )
                   Defendants.
                                              )

                         STIPULATION AND ORDER TO EXTEND TIME

         IT IS HEREBY STIPULATED AND AGREED, by the parties hereto, through their

undersigned counsel and subject to the approval of the Court, that the time for Defendant

Experian Information Solutions, Inc. to move, answer, or otherwise respond to the Complaint is

hereby extended through and including April 26, 2018. The reason for the request is to allow

Defendant time to evaluate the allegations in the Complaint.


/s/ Antranig Garibian                                /s/ Travis S. Hunter
Antranig Garibian (#4962)                         Travis S. Hunter (#5350)
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Attorney for Plaintiff                            Attorney for Defendant
                                                  Experian Information Solutions, Inc.


                          22nd day of March, 2018.
         SO ORDERED this _____

                                                       s/ Matthew W. Brann
                                                     _________________________________
                                                     United States District Court Judge




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